USCA4Case
     Appeal: 21-2390    Doc: 84
          6:20-cv-00031-NKM-RSB   Filed: 07/17/2023
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                                                                    FILED: July 17, 2023


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

                                          ___________________

                                               No. 21-2390 (L)
                                         (6:20-cv-00031-NKM-RSB)
                                           ___________________

        ESTATE OF EVA PALMER, by its Executor Laura Barbour Bowes

                       Plaintiff - Appellant

        v.

        LIBERTY UNIVERSITY, INC.

                       Defendant - Appellee

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        AMERICANS UNITED FOR SEPARATION OF CHURCH AND STATE

                       Amicus Supporting Appellant/Cross-Appellee

        PEPPERDINE UNIVERSITY; BRIGHAM YOUNG UNIVERSITY; THE
        CATHOLIC UNIVERSITY OF AMERICA; HOUSTON BAPTIST
        UNIVERSITY

                       Amici Supporting Appellee/Cross-Appellant

                                          ___________________

                                                 No. 21-2434
                                         (6:20-cv-00031-NKM-RSB)
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USCA4Case
     Appeal: 21-2390    Doc: 84
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        ESTATE OF EVA PALMER, by its Executor Laura Barbour Bowes

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                        Amici Supporting Appellee/Cross-Appellant

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                                 TEMPORARY STAY OF MANDATE
                                  _____________________________

                 Under Fed. R. App. P. 41(b), the filing of a timely petition for rehearing or

        rehearing en banc stays the mandate until the court has ruled on the petition. In

        accordance with Rule 41(b), the mandate is stayed pending further order of this

        court.


                                                                   /s/Patricia S. Connor, Clerk
